                                                                   Case 1:22-cv-06918-DG-TAM                                               Document 55-5                                Filed 01/06/25                              Page 1 of 1 PageID #:
                                                                                                                                                    208
                                                                  1120                                                    U.S. Corporation Income Tax Return                                                                                                           OMB No. 1545-0123


                                                                                                                                                                                                                                                                        2020
 Form                                                                                          For calendar year 2020 or tax year beginning                                                         , 2020, ending                                 , 20
 Department of the Treasury
 Internal Revenue Service                                                                                       a Go to www.irs.gov/Form1120 for instructions and the latest information.

 A Check if:                                                                                               Name                                                                                                                                 B Employer identification number
 1a Consolidated return
    (attach Form 851)     .                                                                                HAPPY STREET TOO LLC
                                                                                            TYPE
  b Life/nonlife consoli-                                                                                  Number, street, and room or suite no. If a P.O. box, see instructions.                                                               C Date incorporated
    dated return .    .   .                                                                 OR
 2 Personal holding co.                                                                     PRINT          924 COLUMBUS AVENUE                                                                                                                  03/17/2014
    (attach Sch. PH) .    .                                                                                City or town, state or province, country, and ZIP or foreign postal code                                                             D Total assets (see instructions)
 3 Personal service corp.
   (see instructions) . .                                                                                  New York                                                                                 NY 10025                                                       $          124,069
 4 Schedule M-3 attached                                                                     E Check if: (1)              Initial return               (2)           Final return                     (3)           Name change                (4)          Address change
                                                                   1a      Gross receipts or sales .              .   .    .    .   .      .   .   .         .   .     .   .   .        .      .      .     .         1a                 321,901
                                                                    b      Returns and allowances . . . . . .                              .   .   .         .   .     .   .   .        .      .      .     .         1b
                                                                    c      Balance. Subtract line 1b from line 1a  .                       .   .   .         .   .     .   .   .        .      .      .     .   .     . .       .    .     .   .     .        1c              321,901
                                                                   2       Cost of goods sold (attach Form 1125-A) .                       .   .   .         .   .     .   .   .        .      .      .     .   .     . .       .    .     .   .     .         2               87,409
                                                                   3       Gross profit. Subtract line 2 from line 1c . .                      .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .         3              234,492
                                                                   4       Dividends and inclusions (Schedule C, line 23)                      .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .         4
   Income




                                                                   5       Interest   . . . . . . . . . . .                                    .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .         5
                                                                   6       Gross rents . . . . . . . . . . . . . .                                                     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .         6
                                                                   7       Gross royalties . . . . . . . . . . . . .                                                   .   .   .        .      .      .     .   .     .     .   .    .     .   .     .         7
                                                                   8       Capital gain net income (attach Schedule D (Form 1120)) .                                   .   .   .        .      .      .     .   .     .     .   .    .     .   .     .         8
                                                                   9       Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)                                       .      .      .     .   .     .     .   .    .     .   .     .        9
                                                                  10       Other income (see instructions—attach statement) . . . . . .                                                 .      .      .     .   .     .     .   .    .     .   .     .        10
                                                                  11       Total income. Add lines 3 through 10 . . . . . . . . .                                                       .      .      .     .   .     .     .   .    .     .   .     a        11              234,492
                                                                  12       Compensation of officers (see instructions—attach Form 1125-E)         .                                     .      .      .     .   .     .     .   .    .     .   .     a        12
   Deductions (See instructions for limitations on deductions.)




                                                                  13       Salaries and wages (less employment credits)                        .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .        13               22,500
                                                                  14       Repairs and maintenance                .   .    .    .   .      .   .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .        14                5,427
                                                                  15       Bad debts . . .             .    .     .   .    .    .   .      .   .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .        15
                                                                  16       Rents . . . .               .    .     .   .    .    .   .      .   .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .        16               49,140
                                                                  17       Taxes and licenses          .    .     .   .    .    .   .      .   .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .        17               31,675
                                                                  18       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                                                           .     .        18                3,143
                                                                  19       Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . .                                                                                            .     .        19
                                                                  20       Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) .                                                                  .     .        20
                                                                  21       Depletion . . . . . . . .                            .   .      .   .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .        21
                                                                  22       Advertising    . . . . . . .                         .   .      .   .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .        22               45,194
                                                                  23       Pension, profit-sharing, etc., plans                 .   .      .   .   .         .   .     .   .   .        .      .      .     .   .     .     .   .    .     .   .     .        23
                                                                  24       Employee benefit programs      . .                   .    . . .          . . . . . . . . . . .                                             .     .   .    .     .   .     .        24
                                                                  25       Reserved for future use . . . .                      .    . . .          . . . . . . . . . . .                                             .     .   .    .     .   .     .        25
                                                                  26       Other deductions (attach statement)                  .   Other
                                                                                                                                     . . .         Deductions
                                                                                                                                                    . . . . . .Statement
                                                                                                                                                                 . . . . .                                            .     .   .    .     .   .     .        26               79,236
                                                                  27       Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . . . . . .                                                                                           a        27              236,315
                                                                  28       Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11.                                                                 .        28               -1,823
                                                                  29a      Net operating loss deduction (see instructions) . . . . . . . . . . .                 29a
                                                                    b      Special deductions (Schedule C, line 24) . . . . . . . .                                            .        .      .      .     .        29b
                                                                    c      Add lines 29a and 29b . . . . . . . . . . . . .                                                     .        .      .      .     .   .     . .       .    .     .   .     .        29c
                                                                  30       Taxable income. Subtract line 29c from line 28. See instructions                                    .        .      .      .     .   .     . .       .    .     .   .     .         30              -1,823
Tax, Refundable Credits, and




                                                                  31       Total tax (Schedule J, Part I, line 11) . . . . . . . . . . . . . . .                                                                      .     .   .    .     .   .     .        31                    0
                                                                  32       2020 net 965 tax liability paid (Schedule J, Part II, line 12) . . . . . . . . .                                                           .     .   .    .     .   .     .        32
         Payments




                                                                  33       Total payments, credits, and section 965 net tax liability (Schedule J, Part III, line 23) .                                               .     .   .    .     .   .     .        33
                                                                  34       Estimated tax penalty. See instructions. Check if Form 2220 is attached       . . . . . . .                                                               .     .a                 34
                                                                  35       Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed .                                                            .     . .       .        35
                                                                  36       Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid .                                                         .     . .       .        36                         0
                                                                  37       Enter amount from line 36 you want: Credited to 2021 estimated tax a                                                                                     Refunded a                37
                                                                           Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct,

 Sign                                                                      and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
                                                                                                                                                                                                                                                         May the IRS discuss this return
 Here                                                                                                                                                                                   PRESIDENT                                                        with the preparer shown below?
                                                                       F




                                                                                                                                                                                    F




                                                                                                                                                                                                                                                         See instructions.     Yes       No
                                                                           Signature of officer                                                         Date                                Title
                                                                               Print/Type preparer’s name                                  Preparer’s signature                                                      Date                                              PTIN
 Paid                                                                                                                                                                                                                                           Check      if
                                                                                                                                                                                                                    04/08/2021                  self-employed
 Preparer
 Use Only Firm’s name                                                                                                                                                                                                                    Firm’s EIN a
                                                                                                  a

                                                                               Firm’s address a                                                                                                                                          Phone no.
 For Paperwork Reduction Act Notice, see separate instructions. REV 03/23/21 PRO                                                                                                                                                                                        Form 1120 (2020)
BAA
